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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                           Case No.: 6:22-cv-0047-WWB-RMN

 BETHUNE-COOKMAN UNIVERSITY,
 INC.,

        Plaintiff,

 v.

 DR. MARY MCLEOD BETHUNE
 NATIONAL ALUMNI ASSOCIATION,
 INC.; MARY MCLEOD BETHUNE
 NATIONAL ALUMNI ASSOCIATION,
 INC., and JOHNNY L. MCCRAY, JR.,
 Individually,

      Defendants.
 _________________________________/
      PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION TO SEAL [D.E. 114]

        On June 30, 2023, Plaintiff Bethune-Cookman University, Inc. (“the University”)

 filed its Renewed Motion to Compel [D.E. 79] (“Motion”), which the Court granted [D.E.

 83; “Order”], awarding reasonable attorney’s fees. [Id. at 13.] On July 26th, the University

 filed its Verified Motion for Attorneys’ Fees [D.E. 84; “Fee Motion”]. On August 4th, the

 Court ordered Defendants, jointly and severally, to “pay Plaintiff the amount of $18,792.00

 within 30 days.” [D.E. 87 at 3; “Fee Award Order.”] In view of Defendants’ failure to

 comply with the Fee Award Order by the court-imposed deadline, and after repeated,

 failed attempts to obtain Defendants’ compliance or ascertain the grounds for their

 noncompliance, the University filed its Motion for Contempt [D.E. 104]. On September

 22, 2023, Defendants filed their Opposition to Plaintiff’s Motion for Contempt [D.E. 113],




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 alleging that compliance with the Fee Award Order would “render the Defendants

 insolvent.” [Id. at 2.]

        On September 22, 2023, Defendants’ counsel requested the University’s consent

 to a proposed Motion to Seal certain unspecified documents relating to Defendants’

 financial status, presumably to support their contention of Defendants’ inability to comply

 with the Fee Award Order. In response, counsel for the University pointed out that the

 Fee Award Order is clear that Defendants are jointly and severally liable for the Fee

 Award, and indicated that the University would consent to Defendants’ Motion to Seal

 Defendants’ bank statements, “provided those statements reflect (i) the accounts of all

 Defendants, including Mr. McCray; (ii) the accounts of all of Defendants’ local chapters;

 and (iii) bank statements or financial statements reflecting the balance in accounts

 maintained by Sustaining the Legacy Legal Defense Fund, Inc. or any other legal defense

 fund for the benefit of Defendants.” See Exhibit A. The University’s consent was also

 “contingent upon [Defendants’] subsequent consent to [the University] filing under seal,

 to the extent necessary, any additional financial documents produced by Defendants in

 this case” in order to rebut any limited or distorted financial picture provided by

 Defendants in their filings. Id. In Response, Defendants filed their Motion to Seal [D.E.

 114] as opposed.

        Defendants have failed to comply with the applicable rules relating to motions to

 file documents under seal, failed to satisfy the applicable legal standard for the same, and

 indeed failed to cite any authority addressing the applicable legal standard. See, e.g.,

 M.D. Fla. Local R. 1.11; Toms v. State Farm Life Ins. Co., 2022 WL 2953523, at *3 (M.D.

 Fla. July 26, 2022) (describing requirements of L.R. 1.11). The Motion could be denied


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 on these grounds alone. The University, however, does not oppose sealing Defendants’

 financial records in principle, it simply takes issue with Defendants’ continued failure to

 abide by this Court’s Local Rules and applicable law, the failure to identify which specific

 documents it seeks to seal, and with what appears to be a pretext for presenting a

 selective, distorted financial picture of only two of the Defendants’ resources (the nonprofit

 corporate Defendants) when all three Defendants are liable for the Fee Award.

        Counsel for the University, Stephen G. Anderson, indicated the University’s

 consent to the Motion to Seal provided Defendants file all documents relevant to Court’s

 determination of whether Defendants can comply with the Fee Award Order, which

 includes documents reflecting Defendant McCray’s financial status, the financial status of

 Defendants’ local chapters (all of which maintain their own bank accounts), and any funds

 raised on behalf of Defendants by Sustaining the Legacy Legal Defense Fund, Inc., which

 was specifically established by members of Defendants’ Board and other Committee

 Chairs to “assist the Dr. Mary McLeod Bethune National Alumni Association, Inc.

 (“MMBNAA”) . . . in paying legal fees, court costs, litigation costs, judgments, fines, etc.,

 in the pending federal trademark infringement lawsuit.” See Exhibit B (screenshots from

 the website located at the URL https://www.stl-legaldefense.com/; accessed September

 27, 2023).1

        Accordingly, the University respectfully requests the Court either deny the Motion

 in its current form, or grant the Motion on the condition that Defendants submit documents




 1Further, the University has requested Defendants to identify specifically which financial

 records they seek to file under seal, but as of the time of this filing, has not received a
 response. Upon review of whatever documents Defendants seek to seal, which it appears
 will seek to present an incomplete and selective financial picture, the University will likely
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 reflecting the financial status of all Defendants, their local chapters, and Sustaining the

 Legacy Legal Defense Fund, Inc., so the Court may fully evaluate Defendants’ ability to

 comply with the Fee Award Order without the need for still further motion practice.

                                                  Respectfully submitted,

                                                  s/Gregory W. Herbert
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                               CERTIFICATE OF SERVICE

       I certify that on September 29, 2023, the foregoing was electronically filed with the
 Court by the CM/ECF system, which will send a notice to counsel of record.

                                                  s/Gregory W. Herbert




 seek to file additional records produced by Defendants in the interests of true
 transparency.
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